Case 2:19-cv-04437-TJH-PLA Document 1 Filed 05/22/19 Page 1 of 17 Page ID #:1




  1
      Thomas P. Riley, SBN 194706
      LAW OFFICES OF THOMAS P. RILEY, P.C.
  2   First Library Square
  3   1114 Fremont Avenue
      South Pasadena, CA 91030-3227
  4

  5   Tel: 626-799-9797
      Fax: 626-799-9795
  6   TPRLAW@att.net
  7
      Attorneys for Plaintiff
  8   Innovative Sports Management, Inc.,
  9   d/b/a Integrated Sports Media

 10                     UNITED STATES DISTRICT COURT
 11                               FOR THE
                       CENTRAL DISTRICT OF CALIFORNIA
 12                          WESTERN DIVISION
 13

 14    INNOVATIVE SPORTS                           Case No.:
       MANAGEMENT, INC., D/B/A                     COMPLAINT
 15
       INTEGRATED SPORTS MEDIA,
 16
                       Plaintiff,
 17

 18              vs.

 19
       ELART MIGUEL COELLO,
 20    individually and d/b/a TAKATIS
 21    PERUVIAN CUISINE; and
       TAKATIS, INC., an unknown
 22    business entity d/b/a TAKATIS
 23    PERUVIAN CUISINE,
 24                    Defendants.
 25
      ///
 26
 27   ///
 28   ///
                                          Page 1
Case 2:19-cv-04437-TJH-PLA Document 1 Filed 05/22/19 Page 2 of 17 Page ID #:2




  1
      PLAINTIFF ALLEGES:

  2
                                         JURISDICTION
  3

  4
      1.            Jurisdiction is founded on the existence of a question arising under
  5

  6   particular statutes. This action is brought pursuant to several federal statutes,

  7   including the Communications Act of 1934, as amended, Title 47 U.S.C. 605, et
  8
      seq., and The Cable & Television Consumer Protection and Competition Act of
  9

 10   1992, as amended, Title 47 U.S. Section 553, et seq, and California B&P Section

 11   17200, a California state statute.
 12

 13

 14   2.     This Court has jurisdiction of the subject matter of this action pursuant to 28

 15   U.S.C. Section 1331, which states that the District Courts shall have original
 16
      jurisdiction of all civil actions arising under the Constitution, laws, or treaties, of the
 17

 18   United States. This Court has subject matter jurisdiction over the state law claims
 19   pursuant to 28 U.S.C. § 1367 (supplemental jurisdiction).
 20

 21

 22   3.     This Court has personal jurisdiction over the parties in this action as a result
 23   of the Defendants’ wrongful acts hereinafter complained of which violated the
 24
      Plaintiff's rights as the exclusive commercial domestic distributor of the televised
 25

 26   soccer Program hereinafter set forth at length. The Defendants’ wrongful acts
 27   consisted of the interception, reception, publication, divulgence, display, exhibition,
 28

                                                 Page 2
Case 2:19-cv-04437-TJH-PLA Document 1 Filed 05/22/19 Page 3 of 17 Page ID #:3




  1
      and tortious conversion of said property of Plaintiff within the control of the

  2   Plaintiff in the State of California, constituting an unfair business practice in
  3
      violation of the law, including specific California state statutes, more particularly set
  4

  5   forth below.

  6

  7

  8                                          VENUE
  9
      4.    Pursuant to Title 47 U.S.C. Section 605, venue is proper in the Central
 10

 11
      District of California, because a substantial part of the events or omissions giving

 12   rise to the claim occurred in this District and/or because, inter alia, all Defendants
 13
      reside within the State of California (28 U.S. C. § 1391 (b) and 28 U.S.C. §
 14

 15   84(c)(2)).

 16

 17

 18                           INTRADISTRICT ASSIGNMENT
 19
      5.    Assignment to the Western Division of the Central District of California is
 20

 21   proper because a substantial part of the events or omissions giving rise to the

 22   claim occurred in Los Angeles County and/or the United States District Court for
 23
      the Central District of California has decided that suits of this nature, and each of
 24

 25   them, are to be heard by the Courts in this particular Division.

 26   ///
 27
      ///
 28

                                                Page 3
Case 2:19-cv-04437-TJH-PLA Document 1 Filed 05/22/19 Page 4 of 17 Page ID #:4




  1
                                         THE PARTIES

  2   6.    Plaintiff, Innovative Sports Management, Inc., d/b/a Integrated Sports Media
  3
      is, and at all relevant times mentioned was, a New Jersey corporation with its
  4

  5   principal place of business located at 64 North Summit Street, Suite 218, Tenafly,

  6   NJ 07670.
  7

  8

  9   7.    Defendant Elart Miguel Coello is Chief Executive Officer and President of

 10   Takatis, Inc., which owns and operates the commercial establishment doing business
 11
      as Takatis Peruvian Cuisine operating at 6470 Van Nuys Boulevard, Van Nuys,
 12

 13   California 91401.

 14

 15
      8.    Plaintiff is informed and believes, and alleges thereon that on Tuesday, May
 16

 17   29, 2018 (the night of the Program at issue herein, as more specifically defined in

 18   paragraph 14), Defendant Elart Miguel Coello, as an individual specifically
 19
      identified as Chief Executive Officer and President of Takatis, Inc., on the State of
 20

 21   California Secretary of State Statement of Information #FV30120 filed for Takatis,
 22   Inc., had the right and ability to supervise the activities of Takatis Peruvian Cuisine,
 23
      which included the unlawful interception of Plaintiff’s Program.
 24

 25

 26   9.    Plaintiff is informed and believes, and alleges thereon that on Tuesday, May
 27
      29, 2018 (the night of the Program at issue herein, as more specifically defined in
 28

                                                Page 4
Case 2:19-cv-04437-TJH-PLA Document 1 Filed 05/22/19 Page 5 of 17 Page ID #:5




  1
      paragraph 14), Defendant Elart Miguel Coello, specifically directed the employees

  2   of Takatis Peruvian Cuisine to unlawfully intercept and broadcast Plaintiff’s
  3
      Program at Takatis Peruvian Cuisine or that the actions of the employees of Takatis
  4

  5   Peruvian Cuisine are directly imputable to Defendants Elart Miguel Coello by virtue

  6   of their acknowledged responsibility for the actions of Takatis Peruvian Cuisine.
  7

  8

  9   10.   Plaintiff is informed and believes, and alleges thereon that on Tuesday, May

 10   29, 2018 (the night of the Program at issue herein, as more specifically defined in
 11
      paragraph 14), Defendant Elart Miguel Coello, as an officer of Takatis, Inc., had an
 12

 13   obvious and direct financial interest in the activities of Takatis Peruvian Cuisine,

 14   which included the unlawful interception of Plaintiff’s Program.
 15

 16

 17   11.   Plaintiff is informed and believes, and alleges thereon that the unlawful

 18   broadcast of Plaintiff’s Program, as supervised and/or authorized by Defendants
 19
      Takatis Peruvian Cuisine resulted in increased profits for Takatis Peruvian Cuisine.
 20

 21

 22   12.   Plaintiff is informed and believes, and alleges thereon that Defendant,
 23
      Takatis, Inc. is an owner, and/or operator, and/or licensee, and/or permittee, and/or
 24

 25   person in charge, and/or an individual with dominion, control, oversight and
 26   management of the commercial establishment doing business as Takatis Peruvian
 27
      Cuisine operating at 6470 Van Nuys Boulevard, Van Nuys, California 91401.
 28

                                              Page 5
Case 2:19-cv-04437-TJH-PLA Document 1 Filed 05/22/19 Page 6 of 17 Page ID #:6




  1
                                              COUNT I

  2                         (Violation of Title 47 U.S.C. Section 605)
  3

  4

  5   13.    Plaintiff Innovative Sports Management, Inc., d/b/a Integrated Sports Media,
  6   hereby incorporates by reference all of the allegations contained in paragraphs 1-12,
  7
      inclusive, as though set forth herein at length.
  8

  9

 10   14.    Pursuant to contract, Plaintiff Innovative Sports Management, Inc., d/b/a
 11
      Integrated Sports Media, was granted the exclusive nationwide commercial
 12

 13   distribution (closed-circuit) rights to Peru v. Scotland, International Friendly Soccer
 14
      Game, telecast nationwide on Tuesday, May 29, 2018 (this included all interviews
 15
      and game commentary encompassed in the television broadcast of the event,
 16

 17   hereinafter referred to as the "Program").
 18
 19
      15.    Pursuant to contract, Plaintiff Innovative Sports Management, Inc., d/b/a
 20

 21   Integrated Sports Media, entered into subsequent sublicensing agreements with
 22
      various commercial entities throughout North America, including entities within the
 23
      State of California, by which it granted these entities limited sublicensing rights,
 24

 25   specifically the rights to publicly exhibit the Program within their respective
 26
      commercial establishments in the hospitality industry (i.e., hotels, racetracks,
 27
      casinos, bars, taverns, restaurants, social clubs, etc.).
 28

                                                  Page 6
Case 2:19-cv-04437-TJH-PLA Document 1 Filed 05/22/19 Page 7 of 17 Page ID #:7




  1

  2   16.     As a commercial distributor and licensor of sporting events, including the
  3
      Program, Plaintiff Innovative Sports Management, Inc., d/b/a Integrated Sports
  4

  5   Media,     expended    substantial   monies        marketing,   advertising,   promoting,

  6   administering, and transmitting the Program to its customers, the aforementioned
  7
      commercial entities.
  8

  9

 10   17.     With full knowledge that the Program was not to be intercepted, received,
 11
      published, divulged, displayed, and/or exhibited by commercial entities
 12

 13   unauthorized to do so, each and every one of the above named Defendants, either

 14   through direct action or through actions of employees or agents directly imputable to
 15
      Defendants (as outlined in paragraphs 7-12 above), did unlawfully intercept,
 16

 17   receive, publish, divulge, display, and/or exhibit the Program at the time of its

 18   transmission at their commercial establishment in Van Nuys, California located at
 19
      6470 Van Nuys Boulevard, Van Nuys, California 91401.
 20

 21

 22   18.     Said unauthorized interception, reception, publication, exhibition, divulgence,
 23
      display, and/or exhibition by each of the Defendants was done willfully and for
 24

 25   purposes of direct and/or indirect commercial advantage and/or private financial
 26   gain.
 27

 28

                                                Page 7
Case 2:19-cv-04437-TJH-PLA Document 1 Filed 05/22/19 Page 8 of 17 Page ID #:8




  1
      19.    Title 47 U.S.C. Section 605, et seq., prohibits the unauthorized publication or

  2   use of communications (such as the transmission of the Program for which Plaintiff
  3
      Innovative Sports Management, Inc., d/b/a Integrated Sports Media, had the
  4

  5   distribution rights thereto).

  6

  7
      20.    By reason of the aforesaid mentioned conduct, the aforementioned
  8

  9   Defendants, and each of them, violated Title 47 U.S.C. Section 605, et seq.

 10

 11
      21.    By reason of the Defendants’ violation of Title 47 U.S.C. Section 605, et seq.,
 12

 13   Plaintiff Innovative Sports Management, Inc., d/b/a Integrated Sports Media, has the

 14   private right of action pursuant to Title 47 U.S.C. Section 605.
 15

 16

 17   22.    As the result of the aforementioned Defendants’ violation of Title 47 U.S.C.

 18   Section 605, and pursuant to said Section 605, Plaintiff Innovative Sports
 19
      Management, Inc., d/b/a Integrated Sports Media, is entitled to the following from
 20

 21   each Defendant:
 22

 23
                    (a)    Statutory damages for each willful violation in an amount to
 24

 25                        $100,000.00 pursuant to Title 47 U.S.C. 605(e)(3)(C)(ii); and
 26                 (b)    The recovery of full costs, including reasonable attorneys’ fees,
 27
                           pursuant to Title 47 U.S.C. Section 605(e)(3)(B)(iii).
 28

                                                Page 8
Case 2:19-cv-04437-TJH-PLA Document 1 Filed 05/22/19 Page 9 of 17 Page ID #:9




  1
            WHEREFORE, Plaintiff prays for judgment as set forth below.

  2

  3
                                             COUNT II
  4

  5                        (Violation of Title 47 U.S.C. Section 553)

  6

  7
      23.   Plaintiff hereby incorporates by reference all of the allegations contained in
  8

  9   paragraphs 1-22, inclusive, as though set forth herein at length.

 10

 11
      24.   The unauthorized interceptions, reception, publication, divulgence, display,
 12

 13   and/or exhibition of the Program by the above named Defendants was prohibited by

 14   Title 47 U.S.C. Section 553, et seq.
 15

 16

 17   25.   By reason of the aforesaid mentioned conduct, the aforementioned

 18   Defendants, and each of them, violated Title 47 U.S.C. Section 553, et seq.
 19

 20

 21   26.   By reason of the Defendants’ violation of Title 47 U.S.C. Section 553, et seq.,
 22   Plaintiff Innovative Sports Management, Inc., d/b/a Integrated Sports Media, has the
 23
      private right of action pursuant to Title 47 U.S.C. Section 553.
 24

 25

 26
 27

 28

                                               Page 9
Case 2:19-cv-04437-TJH-PLA Document 1 Filed 05/22/19 Page 10 of 17 Page ID #:10




    1
        27.   As the result of the aforementioned Defendants’ violation of Title 47 U.S.C.

    2   Section 553, Plaintiff Innovative Sports Management, Inc., d/b/a Integrated Sports
    3
        Media, is entitled to the following from each Defendant:
    4

    5

    6                (a)    Statutory damages for each violation in an amount to
    7
                            $10,000.00 pursuant to Title 47 U.S.C. § 553(c)(3)(A)(ii);
    8

    9

   10
                     (b)    Statutory damages for each willful violation in an amount to

   11                       $50,000.00 pursuant to Title 47 U.S.C. § 553(c)(3)(B);
   12

   13
                     (c)    The recovery of full costs pursuant to Title 47 U.S.C. Section
   14

   15
                            553 (c)(2)(C); and

   16

   17                (d)    In the discretion of this Honorable Court, reasonable attorneys’
   18
                            fees, pursuant to Title 47 U.S.C. Section 553 (c)(2)(C).
   19

   20

   21         WHEREFORE, Plaintiff prays for judgment as set forth below.
   22
                                             COUNT III
   23

   24
                                            (Conversion)

   25

   26
        28.   Plaintiff hereby incorporates by reference all of the allegations contained in
   27

   28   paragraphs 1-27, inclusive, as though set forth herein at length.

                                                 Page 10
Case 2:19-cv-04437-TJH-PLA Document 1 Filed 05/22/19 Page 11 of 17 Page ID #:11




    1

    2   29.     By their aforesaid acts of interception, reception, publication, divulgence,
    3
        display, and/or exhibition of the Program at their commercial establishment at the
    4

    5   above-captioned address, the aforementioned Defendants, and each of them,

    6   tortuously obtained possession of the Program and wrongfully converted same for
    7
        their own use and benefit.
    8

    9

   10   30.     The aforesaid acts of the Defendants were willful, malicious, egregious, and
   11
        intentionally designed to harm Plaintiff Innovative Sports Management, Inc., d/b/a
   12

   13   Integrated Sports Media, by depriving Plaintiff of the commercial license fee to

   14   which Plaintiff was rightfully entitled to receive from them, and in doing so, the
   15
        Defendants subjected the Plaintiff to severe economic distress and great financial
   16

   17   loss.

   18
   19
        31.     Accordingly, Plaintiff Innovative Sports Management, Inc., d/b/a Integrated
   20

   21   Sports Media, is entitled to both compensatory, as well as punitive and exemplary
   22   damages, from the aforementioned Defendants as the result of the Defendants’
   23
        egregious conduct, theft, and conversion of the Program and deliberate injury to the
   24

   25   Plaintiff.
   26
   27
                WHEREFORE, Plaintiff prays for judgment as set forth below.
   28

                                                Page 11
Case 2:19-cv-04437-TJH-PLA Document 1 Filed 05/22/19 Page 12 of 17 Page ID #:12




    1

    2                                        COUNT IV
    3
         (Violation of California Business and Professions Code Section 17200, et seq.)
    4

    5

    6   32.     Plaintiff hereby incorporates by reference all of the allegations contained in
    7
        Paragraphs 1-31, inclusive, as set forth herein at length.
    8

    9

   10   33.     By contract, Plaintiff Innovative Sports Management, Inc., d/b/a Integrated
   11
        Sports Media, was granted exclusive domestic commercial exhibition closed-circuit
   12

   13   rights to the Program.

   14

   15
        34.     Plaintiff did not authorize transmission, interception, reception, divulgence,
   16

   17   exhibition, or display of the Program to the general public, persons at large, or to

   18   the commercial establishment operated by the foregoing Defendants, or any of
   19
        them.
   20

   21

   22   35.     With full knowledge that the Program was not to be intercepted, received,
   23
        published, divulged, displayed, and/or exhibited by commercial entities
   24

   25   unauthorized to do so, each and every one of the above named Defendants, either
   26   through direct action or through actions of employees or agents directly imputable to
   27
        Defendants by virtue of their respective positions and authority, did unlawfully
   28

                                                 Page 12
Case 2:19-cv-04437-TJH-PLA Document 1 Filed 05/22/19 Page 13 of 17 Page ID #:13




    1
        intercept, receive, publish, divulge, display, and/or exhibit the Program at the real

    2   time transmission of the Program’s broadcast at the commercial establishment, as
    3
        more particularly indicated and identified above.
    4

    5

    6   36.   Plaintiff is informed and believes and alleges thereon that the Defendants
    7
        and/or their agents, servants, workmen, or employees performed the aforementioned
    8

    9   acts knowingly, willfully and to confer a direct or indirect commercial advantage

   10   and/or pirate financial gain to the Defendants, to the detriment and injury of Plaintiff
   11
        and its business enterprise as a commercial distributor and closed-circuit licensor of
   12

   13   sports and entertainment television programming.

   14

   15
        37.   The Defendants’ unauthorized interception, publication, divulgence and/or
   16

   17   exhibition was done by the Defendants wantonly, recklessly, and without regard

   18   whatsoever for the intellectual property rights of the Plaintiff.
   19

   20

   21   48.   The aforementioned unlawful acts of each of the Defendants constituted
   22   unlawful, untrue, fraudulent, predatory, unfair, and deceptive trade practices, and by
   23
        reason of the aforementioned conduct, the Defendants, and each of them, violated
   24

   25   California and Professions Code Section 17200, et seq.
   26
   27

   28

                                                  Page 13
Case 2:19-cv-04437-TJH-PLA Document 1 Filed 05/22/19 Page 14 of 17 Page ID #:14




    1
        39.   As a proximate result of the aforementioned acts attributable to the

    2   Defendants, Plaintiff has been permanently deprived of the patronage of current,
    3
        previous and potential customers of the sports and entertainment programming it
    4

    5   licenses commercially to the hospitality industry, all to its severe financial injury

    6   and loss in a sum to be determined at trial.
    7

    8

    9   40.   By reason of the Defendants’ violation of California Business and Professions

   10   Code Section 17200, et seq., Plaintiff Innovative Sports Management, Inc., d/b/a
   11
        Integrated Sports Media is entitled to restitution for its injuries, the disgorgement
   12

   13   and turn-over of the Defendants’ ill-gotten gains, as well as injunctive and

   14   declaratory relief, from each of the aforementioned Defendants as may be made
   15
        more appropriately determined at trial.
   16

   17

   18   41.    Plaintiff is entitled to its attorneys’ fees from the Defendants for enforcing
   19
        California Business and Professions Code Section 17200 as it meets the standards of
   20

   21   a private attorney general as specifically and statutorily defined under California
   22   Civil Procedure Section 1021.5.
   23

   24

   25         WHEREFORE, Plaintiff prays for judgment as set forth below.
   26         As to the First Count:
   27

   28

                                                  Page 14
Case 2:19-cv-04437-TJH-PLA Document 1 Filed 05/22/19 Page 15 of 17 Page ID #:15




    1
                  1. For statutory damages in the amount of $110,000.00 against the

    2                 Defendants, and each of them;
    3
                  2. For reasonable attorneys’ fees as mandated by statute;
    4

    5             3. For all costs of suit, including but not limited to filing fees, service of

    6                 process fees, investigative costs; and
    7
                  4. For such other and further relief as this Honorable Court may deem
    8

    9                 just and proper.

   10

   11
             As to the Second Count:
   12

   13

   14        1.       For statutory damages in the amount of $60,000.00 against the
   15
                      Defendants, and each of them;
   16

   17        2.       For reasonable attorneys’ fees as may be awarded in the Court’s

   18                 discretion pursuant to statute;
   19
             3.       For all costs of suit, including but not limited to filing fees, service
   20

   21                 of process fees, investigative costs; and
   22        4.       For such other and further relief as this Honorable Court may deem
   23
                      just and proper.
   24

   25

   26
   27
             As to the Third Count:
   28

                                                  Page 15
Case 2:19-cv-04437-TJH-PLA Document 1 Filed 05/22/19 Page 16 of 17 Page ID #:16




    1
             1.    For compensatory damages in an amount according to proof against

    2              the Defendants, and each of them;
    3
             2.    For exemplary damages against the Defendants, and each of them;
    4

    5        3.    For punitive damages against the Defendants, and each of them;

    6        4.    For reasonable attorneys’ fees as may be awarded in the Court’s
    7
                   discretion pursuant to statute;
    8

    9        5.    For all costs of suit, including but not limited to filing fees, service of

   10              process fee, investigative costs; and
   11
             6.    For such other and further relief as this Honorable Court may deem just
   12

   13              and proper.

   14

   15
             As to the Fourth Count:
   16

   17

   18        1.    For restitution to the Plaintiff in an amount according to and from the
   19
                   Defendants, for their ill-gotten gains;
   20

   21        2.    For declaratory relief;
   22        3.    For prohibitory and mandatory injunctive relief;
   23
             4.    For reasonable attorneys’ fees as may be awarded in the Court’s
   24

   25              discretion pursuant to statute;
   26        5.    For all costs of suit, including but not limited to filing fees, service
   27
                   of process fees, investigative costs; and
   28

                                               Page 16
Case 2:19-cv-04437-TJH-PLA Document 1 Filed 05/22/19 Page 17 of 17 Page ID #:17




    1
              6.    For such other and further relief as this Honorable Court may deem

    2               just and proper.
    3

    4

    5                                  Respectfully submitted,

    6

    7
        Dated: 5/22/19                 /s/ Thomas P. Riley
    8                                  LAW OFFICES OF THOMAS P. RILEY, P.C.
    9                                  By: Thomas P. Riley
                                       Attorneys for Plaintiff
   10                                  Innovative Sports Management, Inc., d/b/a
   11                                  Integrated Sports Media

   12

   13

   14

   15

   16

   17

   18
   19

   20

   21

   22

   23

   24

   25

   26
   27

   28

                                             Page 17
